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         UNITED STATES BANKRUPTCY COURT
           NORTHERN DISTRICT OF ILLINOIS
                                                                                                                          VOLUNTARY PETITION
                            WESTERN DIVISION

NAME OF DEBTOR                                                                                         NAME of JOINT DEBTOR


John Victor Welc                                                                                         Cynthia Suzanne Welc
ALL OTHER NAMES USED BY THE DEBTOR IN THE LAST 8 YEARS (including married,                            ALL OTHER NAMES USED BY THE JOINT DEBTOR IN THE LAST 8 YEARS (including
maiden & trade)                                                                                       married, maiden & trade)




SOC. SECURITY #/TAX I.D. NO (if more than one, state all) IF                                            SOC. SECURITY #/TAX I.D. NO (if more than one, state all)
FALSE OR FRAUDULENT DO NOT SIGN THIS PETITION &                                                         IF FALSE OR FRAUDULENT DO NOT SIGN THIS PETITION
COMMIT PERJURY!!! (Last 4 digits of Social)                                                             & COMMIT PERJURY!!! (Last 4 digits of Social)

  ***-**-2211                                                                                            ***-**-6039
STREET ADDRESS OF DEBTOR                                                                              STREET ADDRESS OF JOINT DEBTOR


119 Cottonwood Blvd                                                                                   119 Cottonwood Blvd
Kirkland IL 60146                                                                                     Kirkland IL 60146
           COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS                                                        COUNTY OF RESIDENCE OR PRINCIPAL PLACE OF BUSINESS

                                          DeKalb                                                                                                          DeKalb

MAILING ADDRESS OF DEBTOR                                                                             MAILING ADDRESS OF JOINT DEBTOR




 LOCATION OF PRINCIPAL ASSETS OF BUSINESS DEBTOR (IF DIFFERENT FROM STREET ADDRESS ABOVE)                                                     NOT APPLICABLE
                                                   Information Regarding the Debtor (Check the Applicable Boxes)

       Type of Debtor                      Chapter of Bankruptcy Code Used to File                                                                        Nature of Business

  [x] Individual (s)                 [] Chapter 7            [ x ] Chapter 13                                            [ ]Railroad      [ ]Clearing Bank [ ]Stockbroker [ ]Heatlh Care Business
  [ ] Corporation
                                     [ ] Chapter 9 [ ] Chapter 11 [ ] Chapter 12                                         [ ] Nonprofit Organization qualified under 15 U.S.C. 501(c)(3)
  [ ] Partnership
                                     [ ] Chapter 15 Petition for recognition for a Foreign Main proceeding               [ ] Single Asset Real Estate as defined in 11 U.S.C 101 (51B)
  [ ] Other____________
                                     [ ] Chapter 15 Petition recognition for Foreign nonmain proceeding

 NATURE OF DEBTS (Check one box)                                                                 CHAPTER 11 BUSINESS (Check all boxes that apply)
                                                                                                 []      Debtor is a small business as defined in 11 U.S.C. Sec 101(51D)
 [x]    Consumer/Non-Business                               [ ] Business                         []      Debtor is not a small business debtor as defined in 11 U.S.C. Sec. 101(51D)
                                                                                                 --------------------------------------------------------------------------------------------------------------------
 FILING FEE (Check one box)                                                                      Check if: [ ] Debtor's aggregate non contingent liquidated debts owed to non-insdiders
 [x] Full Filing Fee Attached                                                                                    or affliates are less than 2 million.

 [ ] Filing Fee to be paid in installments (Applicable to individuals only).
                                                                                                             STATISTICAL/ADMINISTRATIVE INFORMATION (Estimates Only)
 Must attach signed application for court consideration certifying that the debtor is
                                                                                                 [ ] Debtor estimates funds will be available for distribution to unsecured credtiors
 unable to pay fee except in installments. Rule 1006(b)/ See Official Form No. 3A
                                                                                                 [x] Debtor estimates that, after any exempt property is excluded and administrative
 [ ] Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must                expenses paid, there will be no funds available for distribution to unsecured creditors.
 attach signed application for th court's consideration. See Offical Form 3B

                                                      Certification of Debt Counseling by Individual/Joint Debtor
 [ X ] I/we have received approved budget and credit counseling during                              [ ] I/we request a waiver of the requirement to obtain budget & credit
 the 180-day period preceeding the filing of this petition.                                         counseling prior to filing based on exigent circumstances. (Must attach
                                                                                                    certification describing.)

   ESTIMATED CREDITORS              [x]      22
   ESTIMATED ASSETS                 [x]    $ 371,100
   ESTIMATED DEBTS                  [x]    $ 311,020

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 Voluntary Petition                                                                                          NAME OF DEBTOR(s)

                                                                                                             John Victor Welc
(This page must be completed and filed in every case)                                                        Cynthia Suzanne Welc
                          I STATE THAT I FILED THE FOLLOWING OTHER BANKRUPTCY CASES WITIIN LAST 8 YEARS (IF BLANK, THIS IS FIRST IN 8 YRS

 LOCATION WHERE FILED:                                                        CASE NO.                                                         DATE FILED



                                  PENDING BANKRUPTCY CASE FILED BY ANY SPOUSE, PARTNER, OR AFFILIATE OF THE DEBTOR(S)
NAME OF DEBTOR:                                                             CASE NUMBER:                                                       DATE:


DISTRICT                                                                    RELATIONSHIP:                                                      JUDGE:

Exhibit A (To be completed only if debtor is required to file periodic reports (e.g.,forms 10K and 10Q) with the Securities and Exchange
Commission pursuant to Section 13 or 15(d) fo the Securities Exchange Act of 1934 and is requesting relief under chapter 11).
Exhibit C Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety? NO

 Signature of Non-Attorney Petition Preparer:           Not Applicable
 Signature of a Foreign Representative of a Recognized Foreign Proceedings:                     Not Applicable

Information Regarding the Debtor - Venue
[ X ] Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceeding the date of this petition or for a longer part of such 180 days than in any other District.

Statement by a Debtor Who Resides as a Tenant of Residential Property
 [ ] Landlord has a judgment against the debtor for possession of debtor's residence.



               DEBTOR (S) READ ENTIRE PETITION SIGN, AND DATE BELOW.
                    ALSO, SIGN ON EVERY OTHER PAGE REQUIRED
I declare under penalty of perjury that the information provided in this petition is true and correct. I am aware that I may proceed under Chapter
7, 11, 12 or 13 of Title 11, U.S. Code, understand the relief available under each such Chapter and choose to proceed. I request relief in
accordance with the Chapter of Title 11, United States Code, specified in this petition.



 Dated:               05/23/2006                           /s/ John Victor Welc                                                                         X Date & Sign
                                                                                John Victor Welc

 Dated:               05/23/2006                           /s/ Cynthia Suzanne Welc                                                                     X Date & Sign
                                                                  Cynthia Suzanne Welc


   /s/ Mark E Levine                                                                                                                                     Dated:                 06/14/2006
   Attorney Name:              Mark E Levine                                                  Bar No: 6239485

  LAW OFFICES OF PETER FRANCIS GERACI
  55 E. Monroe Street #3400
  Chicago IL 60603
  312.332.1800 (PH) 312.332.6354 (FAX)

 EXHIBIT B: I, the attorney for the petitioner named in the foregoing petition, declare that I have informed the petitioner that (he or she) may proceed under chapter 7, 11,
 12 or 13 of title 11, United States Code, and have explained the relief available under each Chapter. I futher certify that I deliveved to the debtor the notice required by
 section 342(b) of the Bankruptcy Code.



  /s/ Mark E Levine                                                                                                                                      Dated:                 06/14/2006
 Attorney Name:               Mark E Levine                                                 Bar No: 6239485



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                                  NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
In re

 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                             STATEMENT PURSUANT TO RULE 2016(b)

        The undersigned, pursuant to Rule 2016(b), Rules of Bankruptcy Procedure, states that:

1.      The compensation paid or promised by the Debtor(s), to the undersigned, is as follows:

        For legal services rendered, Debtor(s) agrees to pay                                                                           $3,000
        Prior to the filing of this Statement, Debtor(s) has paid                                                                       $600
                                                                                                                    Balance Due        -$2,400
2.      The Filing Fee has been paid.

3.      The Service rendered or to be rendered include the following:

        (a)   Analysis of the financial situation, and rendering advice and assistance to the client in determining whether to file
              a petition under Title 11, U.S.C.
        (b)   Preparation and filing of the petition, schedules, statement of affairs and other documents required by the court.
        (c)   Representation of the client at the first meeting of creditors.
        (d)   Advice as required.

4.      The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for services
        performed, and none other.

                                         For ALL SOUTHERN DISTRICT OF INDIANA CHAPTER 13 CASES ONLY!
                    Refer to the attached guidelines for payment of ATTORNEYS' FEES & RIGHTS & RESPONSIBLIITIES STATEMENT


5.      The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,will be from
        earnings, wages and compensation for services performed and none other.


6.      The undersigned has received no transfer, assignment or pledge of property from the debtor(s) except the following for the
        value stated: None.

7.      The undersigned has not shared or agreed to share with any other entity, other than with members of the undersigned's law
        firm, any compensation paid or to be paid without the client's consent, except as follows: None.




                                                           Respectfully submitted,


Dated:              06/14/2006                              /s/ Mark E Levine
                                                           Attorney Name:        Mark E Levine                                        Bar No: 6239485

                                                           LAW OFFICES OF PETER FRANCIS GERACI
                                                           55 E. Monroe Street #3400
                                                           Chicago IL 60603
                                                           312.332.1800 (PH) 312.332.6354 (FAX)



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In re
                                 NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                                       SCHEDULE A - REAL PROPERTY
 Except as directed below, list all real property in which the debtor has any legal, equitable, or furture interest, including all property owned as a
 cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable
 for the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the
 column labeled "HWJC". If the debtor holds no interest in real property, write "None" under "Description and Location of Property."

 Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schdule G. If an entity claims to have a lien or
 hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured interest in the
 property, wrrite "None" in teh column labeled "Amount of Secured Claim." If the debtor is an individual or if a joint petition is filed, state the amount
 of any exemption claimed in the amount of any exemption claimed in the property only in Schedule C.


                                                                                                                             Current Value of
              Description and Location of Property                             Nature of Debtor's              H W           Debtors Interest                 Amount of
                                                                               Interest in Property            J C             in Property                   Secured Claim


 119 Cottonwood Blvd Kirkland, IL 60146 (Debtor's Residence)                                                      J                   $ 270,000                  $ 224,172




                                      TOTAL MARKET VALUE OF REAL PROPERTY                                                              $ 270,000




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In re
                                 NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                                 SCHEDULE B - PERSONAL PROPERTY
 Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
 "x" in the appropriate position in the column labled "None." If additional space is needed in any category, attach a separate sheet properly identified with the
 case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an
 "H", "W", "J", or "C" in the column labeled "HWJC". If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed
 only in Schedule C - Property Claimed as Exempt.

 Do not list interest in executory and unexpired leases on this schedule. List them in Schedule G.
 If the property in being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." In
 providing the information in this schedule, do not include the name or address of a minor child. Simpy state a "minor child."

                                                                                                                                                    Current Value of
                                                                                                                                         HW         Debtors Interest
                                    Description and Location of Property
                                                                                                                                         JC           in Property

 01. Cash on Hand                                                                                                                                        [X]    None
 02. Checking, savings or other financial accounts, certificates of deposit or shares in banks, savings
 and load, thrift, building and load, and homestead associations or credit unions, brokerage houses, or
 cooperatives.

        The Belvidere Bank of Kirkland checking account #XX0219                                                                             J              $        200

 03. Security Deposits with public utilities, telephone companies, landlords and others.                                                                 [X]    None
 04. Household goods and furnishings, including audio, video, and computer equipment.

        Household goods; TV, VCR, stereo, sofa, vacuum, table, chairs, lamps, entertainment                                                 J             $     3,500
        center, bedroom sets, washer/dryer, stove, refrigerator, microwave, pots/pans,
        dishes/flatware, dvd player, camcorder, computer, recliner, tools, exercise
        equipment,lawn mower, BBQ grill, musical instruments

 05. Books, pictures and other art objects, antiques, stamp, coin, record, tape, compact disc, and other
 collections or collectibles.

        Mark Prior autographed trading card                                                                                                                $        100

        Books, Compact Discs, Tapes/Records, Family Pictures                                                                                J              $        150

 06. Wearing Apparel

        Necessary wearing apparel                                                                                                           J              $        100

 07. Furs and jewelry.

        Wedding Rings                                                                                                                       J             $     1,000

 08. Firearms and sports, photographic, and other hobby equipment.                                                                                       [X]    None
 09. Interests in insurance policies. Name insurance company of each policy and itemize surrender or
 refund value of each.

        Term Life Insurance thru employer - No Cash Surrender Value.                                                                        H                  None

        Term Life Insurance thru employer - No Cash Surrender Value.                                                                        W                  None

        Whole Life Insurance thru Prudential. Cash Surrender Value is $1,000.00.                                                                          $     1,000




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                                       UNITED STATES BANKRUPTCY COURT
In re
                                 NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                                 SCHEDULE B - PERSONAL PROPERTY
 Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
 "x" in the appropriate position in the column labled "None." If additional space is needed in any category, attach a separate sheet properly identified with the
 case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an
 "H", "W", "J", or "C" in the column labeled "HWJC". If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed
 only in Schedule C - Property Claimed as Exempt.

 Do not list interest in executory and unexpired leases on this schedule. List them in Schedule G.
 If the property in being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." In
 providing the information in this schedule, do not include the name or address of a minor child. Simpy state a "minor child."

                                                                                                                                                    Current Value of
                                                                                                                                         HW         Debtors Interest
                                    Description and Location of Property
                                                                                                                                         JC           in Property

        Term Life Insurance thru Valley Forge Life Insurance Company - No Cash Surrender                                                                       None
        Value.

 10. Annuities                                                                                                                                           [X]    None
 11. Interests in an educational IRA as defined in 26 U.S.C 530(b)(1) or under a qualified State tuition                                                 [X]    None
 plan as defined in 26 U.S.C. 529(B)(1).

 12. Interest in IRA,ERISA, Keogh, or other pension or profit sharing plans.

        Pension w/ Employer - 100% Exempt.                                                                                                  H             unknown

        Pension w/ Employer - 100% Exempt.                                                                                                  W             $     1,500

 13. Stocks and interests in incorporated and unincorporated businesses.

        13 shares of common stock in Service Corp International valued at $7.69 per share                                                                  $        100

 14. Interest in partnerships or joint ventures.                                                                                                         [X]    None
 15. Government and corporate bonds and other negotiable and non-negotiable instruments.                                                                 [X]    None
 16. Accounts receivable                                                                                                                                 [X]    None
 17. Alimony, maintenance, support and property settlements to which the debtor is or may be entitled                                                    [X]    None
 18. Other liquidated debts owing debtor including tax refunds.

        John Welc obtained a judgment in the amount of $60,000 against defendant Anthony                                                                  $ 60,000
        Anselmo in the Circuit Court for the 18th Judicial Circuit, DuPage County, Illinois as a
        result of fraudulent conduct in connection with the sale of an automobile. John Welc
        states that he believes the judgment to be uncollectible because he has been unable to
        locate the defendant.

 19. Equitable and future interests, life estates, and rights of power exercisable for the benefit of the                                                [X]    None
 debtor other than those listed in Schedule of Real Property.

 20. Contingent and Non-contingent interests in estate of a decedent, death benefit plan, life insurance                                                 [X]    None
 policy, or trust.

 21. Other contingent and unliquidated claims of every nature, including tax refunds, counter claims of                                                  [X]    None
 the debtor, and rights to setoff claims. Give estimated value of each.




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In re
                                 NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                                 SCHEDULE B - PERSONAL PROPERTY
 Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
 "x" in the appropriate position in the column labled "None." If additional space is needed in any category, attach a separate sheet properly identified with the
 case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an
 "H", "W", "J", or "C" in the column labeled "HWJC". If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed
 only in Schedule C - Property Claimed as Exempt.

 Do not list interest in executory and unexpired leases on this schedule. List them in Schedule G.
 If the property in being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." In
 providing the information in this schedule, do not include the name or address of a minor child. Simpy state a "minor child."

                                                                                                                                                    Current Value of
                                                                                                                                         HW         Debtors Interest
                                    Description and Location of Property
                                                                                                                                         JC           in Property

 22. Patents, copyrights and other intellectual property.                                                                                                [X]    None
 23. Licenses, franchises and other general intangibles.                                                                                                 [X]    None
 24. Customer list or other compilations                                                                                                                 [X]    None
 25. Autos, Truck, Trailers and other vehicles and accessories.

        Fifth-Third - 2001 Mitsubishi Galant (Cynthia Welc co-signed this loan for son Andrew                                               J             $    6,350
        Keller)

        GMAC - 2004 Chevrolet Cavalier LE (over 57,000 miles)                                                                               J             $    9,900

        AmeriCredit - 2006 Honda Civic LE (over 8,300 miles)                                                                                J             $ 17,200

 26. Boats, motors and accessories.                                                                                                                      [X]    None
 27. Aircraft and accessories.                                                                                                                           [X]    None
 28. Machinery, fixtures, equipment, and supplies used in business.                                                                                      [X]    None
 29. Office equipment, furnishings, and supplies.                                                                                                        [X]    None
 30. Inventory                                                                                                                                           [X]    None
 31. Animals

        Family Pets: (2) Cats and (1) Dog                                                                                                   J                 None

 32. Crops-Growing or Harvested.                                                                                                                         [X]    None
 33. Farming equipment and implements.                                                                                                                   [X]    None
 34. Farm supplies, chemicals, and feed.                                                                                                                 [X]    None
 35. Other personal property of any kind not already listed.                                                                                             [X]    None

                                                                                                                               TOTAL                          $ 101,100




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                                 NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                          SCHEDULE C - PROPERTY CLAIMED EXEMPT
 [ ] 11 U.S.C S522(b)(1): Exemptions provided in 11 U.S.C. S522(d). Note: These exemptions are available only in certain states.

 [x] 11 U.S.C. S522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been
 located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the
 debtor's interest as tenant by the entirety or joint tenant to the extent interest is exempt from process under aplicable nonbankruptcy law.
 Debtor claims the exemptions to which debtor is entitled under: (Check one Box)
 [ ] 11 U.S.C. § 522(b)(2)          [ ] 11 U.S.C. § 522(b)(3)          [ ] Check if debtor claims a homestead exemption that exceeds $125,000.



                                                                                             Specify Law Providing                   Value of                Current Value
                 Description and Location of Property                                              Exemption                         Claimed                  of Property
                                                                                             and Value of Claimed                   Exemption

 00. Real Property
    119 Cottonwood Blvd Kirkland, IL 60146 (Debtor's Residence)                                       735 ILCS 5/12-901                   $ 30,000               $ 270,000


 02. Checking, savings or other financial accounts, certificates of deposit or shares in banks, savings and load, thrift, building and
 load, and homestead associations or credit unions, brokerage houses, or cooperatives.
    The Belvidere Bank of Kirkland checking account #XX0219                                735 ILCS 5/12-1001(b)            $     200                              $    200


 04. Household goods and furnishings, including audio, video, and computer equipment.
    Household goods; TV, VCR, stereo, sofa, vacuum, table, chairs,                      735 ILCS 5/12-1001(b)             $ 3,500                                  $   3,500
    lamps, entertainment center, bedroom sets, washer/dryer, stove,
    refrigerator, microwave, pots/pans, dishes/flatware, dvd player,
    camcorder, computer, recliner, tools, exercise equipment,lawn
    mower, BBQ grill, musical instruments
 05. Books, pictures and other art objects, antiques, stamp, coin, record, tape, compact disc, and other collections or collectibles.
    Mark Prior autographed trading card                                                               735 ILCS 5/12-1001(a)                $     100               $    100


    Books, Compact Discs, Tapes/Records, Family Pictures                                              735 ILCS 5/12-1001(a)                $     150               $    150


 06. Wearing Apparel
    Necessary wearing apparel                                                                        735 ILCS 5/12-1001(a),(e)             $     100               $    100


 07. Furs and jewelry.
    Wedding Rings                                                                                   735 ILCS 5/12-1001(a),(e)             $    1,000               $   1,000


 09. Interests in insurance policies. Name insurance company of each policy and itemize surrender or refund value of each.
    Whole Life Insurance thru Prudential. Cash Surrender Value is                                     735 ILCS 5/12-1001(f)               $    1,000               $   1,000
    $1,000.00.

 12. Interest in IRA,ERISA, Keogh, or other pension or profit sharing plans.
    Pension w/ Employer - 100% Exempt.                                                                 735 ILCS 5/12-1006                  unknown                 unknown




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                                 NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                          SCHEDULE C - PROPERTY CLAIMED EXEMPT
 [ ] 11 U.S.C S522(b)(1): Exemptions provided in 11 U.S.C. S522(d). Note: These exemptions are available only in certain states.

 [x] 11 U.S.C. S522(b)(2): Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been
 located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the
 debtor's interest as tenant by the entirety or joint tenant to the extent interest is exempt from process under aplicable nonbankruptcy law.
 Debtor claims the exemptions to which debtor is entitled under: (Check one Box)
 [ ] 11 U.S.C. § 522(b)(2)          [ ] 11 U.S.C. § 522(b)(3)          [ ] Check if debtor claims a homestead exemption that exceeds $125,000.



                                                                                             Specify Law Providing                   Value of                Current Value
                 Description and Location of Property                                              Exemption                         Claimed                  of Property
                                                                                             and Value of Claimed                   Exemption

    Pension w/ Employer - 100% Exempt.                                                                735 ILCS 5/12-1006                  $    1,500               $   1,500


 13. Stocks and interests in incorporated and unincorporated businesses.
    13 shares of common stock in Service Corp International valued at                                 735 ILCS 5/12-1001(b)                $     100               $    100
    $7.69 per share

 18. Other liquidated debts owing debtor including tax refunds.
    John Welc obtained a judgment in the amount of $60,000 against                                   735 ILCS 5/12-1001(b)                $    4,000              $ 60,000
    defendant Anthony Anselmo in the Circuit Court for the 18th
    Judicial Circuit, DuPage County, Illinois as a result of fraudulent
    conduct in connection with the sale of an automobile. John Welc
    states that he believes the judgment to be uncollectible because he
    has been unable to locate the defendant.
 25. Autos, Truck, Trailers and other vehicles and accessories.
    GMAC - 2004 Chevrolet Cavalier LE (over 57,000 miles)                                            735 ILCS 5/12-1001(c)                $    2,400               $   9,900


    AmeriCredit - 2006 Honda Civic LE (over 8,300 miles)                                             735 ILCS 5/12-1001(c)                $    2,400              $ 17,200




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                                     NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
In re

    John Victor Welc and Cynthia Suzanne Welc, Debtors
    Attorney for Debtor: Mark E Levine




                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the
    debtor as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens,
    mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If a a minor child is a creditor, indicate
    that by stating "a minor child" and do not disclosed the child's name. See 11 U.S.C. § 112: Fed. R. Bankr.P.1007(m). If all secured creditors will not fit on
    this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebor," include the entity on the
    appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the martial
    community may be liable on each claim by placing "H", "W", "J", or "C" in the column labeled "HWJC".
    If the claim is contingent, place an "X" in the column labeled " Contingent". If the claim is unliquadated, place an "X" in the column labeled " Unliquadated".
    If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columnns.).

    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
    Summary of Schedules. If a debtor has no creditors holding secured claims to report on this Schedule D "None" will be listed below.

                                                                         Account #                                             C
                                                                   Consideration For Claim                                     U     HW         Unsecured              Claim
                                                                                                               Codebtor
          Creditor Name and Address                               Dates Claim Was Incurred                                     D     J C         Amount               Amount

1       AmeriCredit                                                           Dates: 2/2006                                            J             $0                   $ 14,066
        Bankruptcy Department                                       Nature of Lien: Lien on Vehicle - PMSI
        PO Box 78143                                                 Market Value : $ 17,200
        Phoenix AZ 85062                                                 Intention: None
                                                                      *Description: AmeriCredit - 2006 Honda Civic LE (over 8,300 miles)
        Account No.:          428808901

2       Chase Mortgage                                                        Dates: 2/2005                                            J             $0               $ 224,172
        Attn: Bankruptcy Dept.                                      Nature of Lien: Mortgage
                                                                                                                                                                *Has Codebtor
        PO Box 9001871                                               Market Value : $ 270,000
        Louisville KY 40290                                              Intention: Reaffirm 524 (c)
                                                                      *Description: 119 Cottonwood Blvd Kirkland, IL 60146 (Debtor's
        Account No.:          1978819647                                               Residence)

3       Fifth Third Bank                                                      Dates: 9/2003                                            J             $0                   $   2,800
        Attn: Bankruptcy Dept.                                      Nature of Lien: Lien on Vehicle - PMSI
                                                                                                                                                                *Has Codebtor
        Fifth Third Center                                           Market Value : $ 6,350
        Cincinnati OH 45263                                              Intention: None
                                                                      *Description: Fifth-Third - 2001 Mitsubishi Galant (Cynthia Welc co-signed
        Account No.:          853253771                                                this loan for son Andrew Keller)

4       GMAC                                                                  Dates: 11/2003                                           J            $976                  $ 10,876
        Bankruptcy Department                                       Nature of Lien: Lien on Vehicle - PMSI
        PO Box 9001952                                               Market Value : $ 9,900
        Louisville KY 40290                                              Intention: None
                                                                      *Description: GMAC - 2004 Chevrolet Cavalier LE (over 57,000 miles)
        Account No.:          154904761833



                                                                                                         TOTAL SECURED DEBT
                                                                                                                                                                    $ 251,914




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In re
                                  NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
 A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims
 entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and
 last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing
 of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

 The complete account # of any account the debtor has with creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to
 do so. If a minor child is a creditor, indicate that by stating “a minor child” don't disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).

 If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
 appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital
 community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
 contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
 disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

 Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in the box
 labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

 Report the total of amounts entitled to priority listed on each sheet the box labeled "Subtotal" on each sheet. Report the total of all amounts entitled to
 priority listed on Schedule E in the box labeled “Total” on last sheet of the completed schedule. If applicable, also report this total on the Means Test form

                                                                                       Account #                                                  C
                                                                                 Consideration For Claim                             Co-          U      HW            Claim
              Creditor Name and Address                                         Dates Claim Was Incurred                            Debtor        D      J C          Amount


        [x] None




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In re
                                    NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
    John Victor Welc and Cynthia Suzanne Welc / Debtors
    Attorney for Debtor:          Mark E Levine




                 SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
    priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
    debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor,
    indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m). Do not include claims
    listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on
    the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or
    the marital community maybe liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

    If the claim is contingent, place “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
    If the claim is disputed, place “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on
    the Summary of Schedules.


                                                                                             Account #                                     C
                                                                                       Consideration For Claim                             U         HW           Claim
                Creditor Name and Address                                             Dates Claim Was Incurred                             D         J C         Amount


1       BP Oil                                                     Account No.            5414046572                                                  H          $   1,380
        Bankruptcy Department                                      Reason:                  Credit Card or Credit Use
        PO Box 15687                                               Dates:                   4/1986
        Wilmington DE 19850
2       Capital One                                                Account No.            5291151938894795                                            H          $   1,137
        Bankruptcy Department                                      Reason:                  Credit Card or Credit Use
        PO Box 790216                                              Dates:                   2000
        Saint Louis MO 63179
3       Capital One                                                Account No.            4934222304144507                                            J          $    734
        Bankruptcy Department                                      Reason:                  Credit Card or Credit Use
        PO Box 790216                                              Dates:                   6/2001
        St. Louis MO 63179
4       Capital One                                                Account No.            430572236352                                                J          $   7,000
        Bankruptcy Department                                      Reason:                  Credit Card or Credit Use
        PO Box 85015                                               Dates:                   9/2003
        Richmond VA 23285
5       CBUSASEARS                                                 Account No.            5049948078164771                                            J          $   4,119
        Bankruptcy Department                                      Reason:                  Credit Card or Credit Use
        PO Box 182149                                              Dates:                   2/1988
        Columbus OH 43218
6       Chase                                                      Account No.            4417129636102556                                            W          $   9,681
        Attn: Bankruptcy Dept.                                     Reason:                  Credit Card or Credit Use
        201 N. Walnut Street                                       Dates:                   4/1998
        Wilmington DE 19801
7       Chase                                                      Account No.            5179456510023441                                            W          $   4,800
        Attn: Bankruptcy Dept.                                     Reason:                  Credit Card or Credit Use
        201 N. Walnut Street                                       Dates:                   2/2003
        Wilmington DE 19801



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    John Victor Welc and Cynthia Suzanne Welc / Debtors
    Attorney for Debtor:    Mark E Levine




              SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
                                                                    Account #                     C
                                                              Consideration For Claim             U   HW        Claim
              Creditor Name and Address                      Dates Claim Was Incurred             D   J C      Amount

8       Credit First N.A.                      Account No.      627684479                             H         $    348
        Bankruptcy Department                  Reason:            Credit Card or Credit Use
        PO Box 81344                           Dates:             10/1991
        Cleveland OH 44188-0344
9       Exxon Mobil                            Account No.      7302890580926883                       J        $    365
        Bankruptcy Department                  Reason:            Credit Card or Credit Use
        PO Box 530962                          Dates:             8/1987
        Atlanta GA 30353
10 JC Penney                                   Account No.      12810669341                            J       $    1,307
   Attn: Bankruptcy Dept.                      Reason:            Credit Card or Credit Use
   PO Box 984100                               Dates:             11/1988
   El Paso TX 79998
11 Kohl's                                      Account No.      0272419235                            H         $    321
   Bankruptcy Department                       Reason:            Credit Card or Credit Use
   PO Box 2983                                 Dates:             12/1997
   Milwaukee WI 53201
12 Kohl's                                      Account No.      19854566752                            J       $    1,200
   Bankruptcy Department                       Reason:            Credit Card or Credit Use
   N56 W 17000 Ridgewood Dr.                   Dates:             8/1994
   Menomonee Falls WI 53051
13 MBNA America                                Account No.      74974258131777                        W        $    6,700
   Bankruptcy Department                       Reason:            Credit Card or Credit Use
   PO Box 17054                                Dates:             8/2003
   Wilmington DE 19884
14 Sallie Mae                                  Account No.      3254460391016                          J       $    5,300
   Bankruptcy Department                       Reason:            Loan or Tuition for Education             *Has Codebtor
   1002 Arthur Dr.                             Dates:             10/2003
   Lynn Haven FL 32444
15 Sallie Mae                                  Account No.      3254460391026                          J      $ 12,200
   Bankruptcy Department                       Reason:            Loan or Tuition for Education             *Has Codebtor
   1002 Arthur Dr.                             Dates:             11/2004
   Lynn Haven FL 32444
16 The Home Depot                              Account No.      6035320041684539                       J       $    1,998
   Bankruptcy Department                       Reason:            Credit Card or Credit Use
   PO Box 689100                               Dates:             10/1995
   Des Moines IA 50368




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 John Victor Welc and Cynthia Suzanne Welc / Debtors
 Attorney for Debtor:   Mark E Levine




          SCHEDULE F - CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
                                                                 Account #                 C
                                                           Consideration For Claim         U   HW       Claim
          Creditor Name and Address                       Dates Claim Was Incurred         D   J C     Amount

17 Victoria's Secret/WFNNB                  Account No.      27144539271445392                 W        $       72
   Bankruptcy Department                    Reason:            Credit Card or Credit Use
   PO Box 182128                            Dates:             1/2004
   Columbus OH 43218
18 WF Financial                             Account No.      102170438948195                    J      $    444
   Bankruptcy Dept.                         Reason:            Credit Card or Credit Use
   PO Box 98798                             Dates:             2/2004
   Las Vegas NV 89193



                                                                TOTAL UNSECURED DEBT                 $ 59,106.00




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In re
 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                    SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s
 interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
 addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a
 minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).



         Name and Address of Other Parties to Instrument                                        Notes of Contract or Lease and Debtor's Interest


        [x] None




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In re

 John Victor Welc and Cynthia Suzanne Welc, Debtors
 Attorney for Debtor: Mark E Levine




                                                          SCHEDULE H - CODEBTORS
 Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
 debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
 territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year
 period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided
 with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
 immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating “a minor child” and do not
 disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).


                   Name and Address of Co-Debtor                                                         Name and Address of the Creditor

1       Carol Welc                                                                     Chase Mortgage
        1471 Keystone                                                                  Attn: Bankruptcy Dept.
        Elgin, IL. 60120                                                               PO Box 9001871
                                                                                       Louisville KY 40290

                                                                                       Account No.                1978819647


2       Andrew Keller                                                                  Fifth Third Bank
        117 Valley Drive                                                               Attn: Bankruptcy Dept.
        Oakwood Hills, IL. 60013                                                       Fifth Third Center
                                                                                       Cincinnati OH 45263

                                                                                       Account No.                853253771


3       Andrew Keller                                                                  Sallie Mae
        117 Valley Drive                                                               Bankruptcy Department
        Oakwood Hills, IL. 60013                                                       1002 Arthur Dr.
                                                                                       Lynn Haven FL 32444

                                                                                       Account No.                3254460391016


4       Andrew Keller                                                                  Sallie Mae
        117 Valley Drive                                                               Bankruptcy Department
        Oakwood Hills, IL 60013                                                        1002 Arthur Dr.
                                                                                       Lynn Haven FL 32444

                                                                                       Account No.                3254460391026




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In re                          NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc / Debtors
 Attorney for Debtor: Mark E Levine




                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a Chapter 12 or 13 case whether or not a joint
 petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.


            Debtor's Marital Status: Married

        Dependent(s)       JW, 16, Daughter                      MW, 15, Son                                RW, 11, Daughter


                          EMPLOYMENT:            DEBTOR                                                          EMPLOYMENT:           SPOUSE

 Occupation:               Funeral Director                                                Registrar
 Name of Employer:         Ahlgrim & Sons                                                  Alexian Brothers
 Years Employed            Approx. 1.5 Years                                               Approx 22 Years
 Employer Address:         330 W. Golf Road                                                800 W. Biesterfield Rd
 City, State, Zip          Schaumburg                             IL        60195          Elk Grove Village                                        IL           60007


                           INCOME AND PAYROLL DEDUCTIONS                                                        DEBTOR INCOME                 SPOUSE INCOME


                                          Current monthly gross wages, salary, and commissions                             $ 5,514.99                    $ 3,500.90

              Other Breakdown                                            Estimated Monthly overtime                             $ 0.00                       $ 0.00
                                                                                           SUBTOTAL                        $ 5,514.99                    $ 3,500.90
 Uniform - H                            0.00
 Life Ins - H                           0.00                a. Payroll Taxes & Social Security                             $ 1,020.50                     $ 647.18
 Advance Inc Repaymt                  160.33                b. Insurance                                                        $ 0.00                    $ 403.04
                                    $ 160.33                c. Union Dues                                                      $ 84.50                      $ 0.00

                                                            d. Pension:                                                         $ 0.00                       $ 0.00

 Uniform - W                            0.00                e. Voluntary 401 Contributions                                      $ 0.00                       $ 0.00
 Life Ins - W                          19.98
                                                            f. Child Support:                                                   $ 0.00                       $ 0.00
                                        0.00
                                                             h. Other:                                                        $ 160.33                     $ 19.98
                                     $ 19.98
                                                                       LESS PAYROLL DEDUCTIONS                             $ 1,265.33                    $ 1,070.20

                                             TOTAL NET MONTHLY TAKE HOME PAY                                       $4,249.66                     $2,430.70
              Regular income from operation of business or profession or farm (attach detailed statement)                       $ 0.00                         $ 0.00
                                                                            Income from real property                           $ 0.00                         $ 0.00
                                                                                Interest and dividends                          $ 0.00                         $ 0.00
             Alimony, maintenance or support payments payable to debtor for the debtor's use or that of
                                                                              dependents listed above                           $ 0.00                         $ 0.00
                                                                        Pension or retirement income                            $ 0.00                         $ 0.00
                                                                              Social Security Income                            $ 0.00                         $ 0.00

                                                                                                                                $ 0.00                         $ 0.00
                                                                                       Unemployment                             $ 0.00                         $ 0.00

                                                                       TOTAL MONTHLY INCOME
                                                                                                                  $4,249.66                       $2,430.70
                                               TOTAL COMBINED MONTHLY INCOME
                                                                                                                                 $6,680.36
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In re                          NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
 John Victor Welc and Cynthia Suzanne Welc / Debtors
 Attorney for Debtor: Mark E Levine




                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a Chapter 12 or 13 case whether or not a joint
 petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.


          Debtor's Marital Status: Married


                        EXPECTED FINANCIAL CHANGE & SPECIAL CIRCUMSTANCES
 Describe any increase/decrease of more than 10% in any of the above categories anticipated to occur within the year
 following filing of this document:

 I (We) the undersigned debtor(s) herein, declare that the following special circumstances applicable to my (our)
 financial situation justify an adjustment to my (our) income and expenses as follows:


Describe Expected Financial Changes
None




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John Victor Welc and Cynthia Suzanne Welc / Debtors
Attorney for Debtor: Mark E Levine

                                          SCHEDULE J - CURRENT EXPENDITURES
Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate
 [ ] Check box if joint pet is filed & debtor's spouse maintains a separate household. Separate schedule of expenditures labeled "Spouse".
RENT (Include Lot Rent for Mobile Home)                                                                                                      $-
                                                                                                       Condo Assocation | Rent
MORTGAGE        Real Estate taxes included?                [ ] Yes [x] No                                           1st Mortgage
                                                                                                                            Rent             $-
               Property insurance included?                [x] Yes [ ] No
                                                                                                                   2nd Mortgage              $-
                                                                                                                    3rd Mortgage             $-
                                                                                        Renters and/or Home Owners Insurance                 $-
                                                                              Not included in mortgage pymts - Real Estate Taxes             $ 500.00
UTILITIES & MAINTENANCE
                                                                                                   Electricity and Heating Fuel              $ 275.00
                                                                                                                     Telephone               $ 100.00
                                                                                                                Internet / Cable             $ 100.00
                                                                                                                       Garbage               $ 15.00
                                                                                                                 Water & Sewer               $ 55.00
                                                                                           Home Maintenance, Repairs, Upkeep                 $ 50.00
NECESSARY LIVING EXPENSES
                                                                                                                             Food            $ 550.00
                                                                                                                          Clothing           $ 175.00
                                                                                                       Laundry and Dry Cleaning              $ 50.00
                                                                                                   Medical and Dental Expenses               $ 100.00
                                                                                                         Charitable Contributions            $ 25.00
                                                                                              Recreation, Clubs, & Entertainment             $ 175.00
                                                                                                          Childcare & Babysitting            $-
                                                                                                                   Life Insurance            $ 55.00
                                                                                                      Health/Disability Insurance            $-
TRANSPORTATION EXPENSES
                                                                                               Automobile Installment Payments               $-
                                                                                                  Monthly Automobile Insurance               $ 140.00
                                                                                 Fuel, Tolls, Parking, Licenses, Plates, Stickers            $ 555.00
                                                                                                         Auto Repairs & Upkeep               $ 100.00
                                                                                                               Bus and/or Train              $-
OTHER INSTALLMENT PAYMENTS
                                                                                                        Reaffirmation Payments
TAXES & SUPPORT PAYMENTS
                                                                                                           Other Tax Payments                $-
                                                                                               Federal or State Tax Repayments               $-
                                                                                            Alimony, Maintenance, Child Support              $-
                                                                                                               Special Education             $-
BUSINESS / REAL ESTATE and MISC EXPENSES
                                                                                                               Business Expenses             $-
                                                                                                             Real Estate Expenses            $-
                                                                                                                                             $-
                                                                                                                                             $-
ALL OTHER MISCELLANEOUS EXPENSES
1. Haircuts: $ 50.00 Eyecare:                       $ 50.00        Femine Hygiene & Care             $ 50.00             Total Line 1        $ 150.00
2. GSL:      $-      Tuition, Books                 $ 100.00       Postage/Banking                   $ 20.00             Total Line 2        $ 120.00
3. Violence: $ -     Pet Care:                      $-             Care Giver:                       $-                  Total Line 3        $-
4. RX Meds: $ -      Energy:                        $-             Newspaper/Magazines               $ 30.00             Total Line 4        $ 30.00

                                                                              TOTAL MONTHLY EXPENSES                                     $ 3,320.00
                                                                                    STATEMENT OF MONTHLY NET INCOME
                                                                A. Total projected monthly income                                             $ 6,680.36
                                                                B. Total projected monthly expenses                                           $ 3,320.00
                                                                C. Excess income (A minus B)                                                  $ 3,360.36
                                                                D. Total amount to be paid into plan monthly                             $ 3,475.00

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In re

John Victor Welc and Cynthia Suzanne Welc / Debtors
Attorney for Debtor: Mark E Levine

                                          SCHEDULE J - CURRENT EXPENDITURES
Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate
 [ ] Check box if joint pet is filed & debtor's spouse maintains a separate household. Separate schedule of expenditures labeled "Spouse".


                       EXPECTED FINANCIAL CHANGE & SPECIAL CIRCUMSTANCES
Describe any increase/decrease of more than 10% in any of the above categories anticipated to occur within the year
following filing of this document:

I (We) the undersigned debtor(s) herein, declare that the following special circumstances applicable to my (our) financial
situation justify an adjustment to my (our) income and expenses as follows:


Describe Expected Financial Changes

 None




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In re
 John Victor Welc and Cynthia Suzanne Welc, Debtors

 Attorney for Debtor: Mark E Levine




                                                    STATEMENT OF FINANCIAL AFFAIRS
This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses is
combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual 's
personal
affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by stating “a
minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 - 25.
If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use
and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS
"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business" for
the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following: an
officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, of a partnership; a sole proprietor or self -employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of which

                                                                        Description and Details
01. INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS: State the gross amount of income the debtor has received
from employment, trade, or profession, or from operation of the debtor 's business, including part-time activities either as an employee or
in independent trade or business, from the beginning of this calendar year to the date this case was commenced. State also the gross
amounts received during the 2 years immediately preceding this case calendar year. (A debtor that maintains, or has maintained ,
financial records on the basis of a fiscal rather than calendar year may report fiscal year income. Identify the beginning and ending
dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)
        Debtor
        2006.........: Approx. $28,222.37
        2005.........: Approx. $65,000.00
        2004.........: Approx. $62,000.00
        Source.......: Employment
 Spouse

        Spouse
        2006.........: Approx. $19,450.00
        2005.........: Approx. $35,000.00
        2004.........: Approx. $32,000.00
        Source.......: Employment
02. INCOME OTHER THAN FROM EMPLOYMENT OF OPERATION OF BUSINESS: State the amount of income received by the
                                                                                                                                                                   [X] NONE
debtor OTHER than from employment, trade, profession, or operation of the debtor's business during the 2 years immediately
preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately .
(Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

Spouse
                                                                                                                                                                   [X] NONE




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In re
 John Victor Welc and Cynthia Suzanne Welc, Debtors

 Attorney for Debtor: Mark E Levine




                                               STATEMENT OF FINANCIAL AFFAIRS
03. PAYMENTS TO CREDITORS: Complete a. or b. as appropriate, and c.
                                                                                                                                              [X] NONE
03a. INDIVIDUAL OR JOINT DEBTOR(S) WITH PRIMARILY CONSUMER DEBTS: List all payments on loans, installment
purchases of goods or services, and other debts to any creditor made within 90 days immediately proceeding the commencement of
this case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000. Indicate with an
asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under
chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

03b. DEBTOR WHOSE DEBTS ARE NOT PRIMARILY CONSUMER DEBTS: List each payment or other transfer to any creditor
                                                                                                                                              [X] NONE
made with 90 days immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is
affected by such transfer is not less than $5,000 (Married debtors filing under chapter 12 or chapter 13 must include payments and
other transfers by each or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.)

03c. ALL DEBTORS: List all payments made within 1 year immediately preceding the commencement of this case to or for the benefit
                                                                                                                                              [X] NONE
of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments be either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


04. SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTIONS, GARNISHMENTS AND ATTACHMENTS: List all lawsuits &
                                                                                                                                              [X] NONE
administrative proceedings to which the debtor is or was a party within 1 year immediately preceding the filing of this bankruptcy case .
(Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

04b. WAGES OR ACCOUNTS GARNISHED: Describe all property that has been attached, garnished or seized under any legal or
                                                                                                                                              [X] NONE
equitable process within 1 year preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)


05. REPOSSESSION, FORECLOSURES AND RETURNS: List all property that has been repossessed, sold at foreclosure sale ,
                                                                                                                                              [X] NONE
transferred through a deed in lieu of foreclosure or returned to the seller, within 1 year immediately preceding the commencement of this
case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


06. ASSIGNMENTS AND RECEIVERSHIPS: Describe any assignment of property for benefit of creditors made within 120 days
                                                                                                                                              [X] NONE
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

06b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within 1 year immediately
                                                                                                                                              [X] NONE
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)


07. GIFTS: List all gifts or charitable contributions you made within 1 year immediately preceding the commencement of this case
                                                                                                                                              [X] NONE
except ordinary & usual gifts or family members less than $200 in value per individual family member & charitable contributions
aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


08. LOSSES: List all losses from fire theft, other casualty or gambling with 1 year immediately preceding of this case OR SINCE THE
                                                                                                                                              [X] NONE
COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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In re
 John Victor Welc and Cynthia Suzanne Welc, Debtors

 Attorney for Debtor: Mark E Levine




                                                STATEMENT OF FINANCIAL AFFAIRS
09. PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY: List all payments made or property transferred by or on
behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
or preparation of a petition in bankruptcy within 1 year immediately preceding the commencement of this case.
        Payee...............: Law Offices of Peter Francis Geraci
        Address............: 55 East Monroe Street
        Address2........: Suite 3400
        Address3........: Chicago            IL 60603
        Date of Payment.: 5/2006
        Payor...............: Debtor
        Payment/Value......: 3,000.00
        Payment Detail 05/15/2006 500.00, 04/24/2006 100.00,
        Payee.....: MMI/CCCS
        Address...: 9009 W. Loop S.
        Address2..: Houston, TX 77096
        DatePay...: 2006
        Payor.....: Debtor
        Paymt.....: $50.00
        Phone.....: 866.983.2227
        Payee.....: Family Credit Counseling
        Address...: Rockford, IL.
        Address2..:
        DatePay...: 9/2003-4/2006
        Payor.....: Debtor
        Paymt.....: $268/month
        Phone.....:
In addition to Peter Francis Geraci and his employees of his firm, I hired, at no additional fee, attorneys listed on my contract of
                                                                                                                                            [X] NONE
representation to work on my case.


10a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor ,
transferred either absolutely or as security with 2 years immediately preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)
        Transferee............: Bona Fide Purchaser
        Address...............: Unknown
        Relationship to Debtor: None
        Date of Transfer......: 6/30/2005
        Property..............: Home
        Value.................: $230,000.00

        +Debtors received approximately $18,000 in proceeds from the sale.
10b. List all property transferred by the debtor within 10 years immediately preceding the commencement of this case to a self -settled
                                                                                                                                            [X] NONE
trust or similar device of which the debtor is a beneficiary.


11. List all financial accounts and instruments held in the name of the debtor which were closed, sold, or otherwise transferred within 1
year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates or
deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associates,
brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)




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 Attorney for Debtor: Mark E Levine




                                                STATEMENT OF FINANCIAL AFFAIRS
11. List all financial accounts and instruments held in the name of the debtor which were closed, sold, or otherwise transferred within 1
year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates or
deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associates,
brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)
        Institution....: Chase
        Address........: Schaumburg, IL.
        Type of Account: Checking account
        Account No.....: xxx8238
        Final Balance..: $3.00
        Date of Closing: 5/19/2006
        Institution....: Chase
        Address........: Streamwood, IL
        Type of Account: Checking account
        Account No.....: XXXX7764
        Final Balance..: $43.00
        Date of Closing: 5/19/2006
12. List each safe deposit box or other box or depository in which the debtor has or had securities, cash or other valuables within 1 year
                                                                                                                                                [X] NONE
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)


13. LIST ALL SETOFFS made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                                                                                                                                                [X] NONE
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


14. LIST ALL PROPERTY owned by another person that the debtor holds or controls. (Including but not limited to: minor's accounts,
                                                                                                                                                [X] NONE
vehicle in your name that is really someone else's, accounts or property or items you are on title to or in possession of.)


15a. INDIVIDUAL DEBTOR(S): If the debtor has moved within 3 years immediately preceding the commencement on this case, list all
premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed ,
report also any separate address of either spouse.
        Prior Address: 6800 Magnolia, Hanover Park, IL
        Name(s) Used.: Same
        Dates........: 1990 - 2005
15b. ALL OTHER DEBTORS: If the debtor has moved within 2 years immediately preceding the commencement of this case, list all
                                                                                                                                                [X] NONE
premises which the debtor occupied during that period and vacated prior to commencement of this case. If a joint petition is filed, report
also any separate address of either spouse.


16. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
                                                                                                                                                [X] NONE
Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within 8 years immediately preceding the
commencement of the case, identify the name of the debtor 's spouse and of any former spouse who resides or resided with the debtor
in the community property state.


17. ENVIRONMENTAL INFORMATION For the purpose of this question, the following definitions apply: "Environmental Law" means
                                                                                                                                                [X] NONE
any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
material into the air, land, soil surface water, ground water, or other medium, including, but not limited to, statutes or regulations
regulating the cleanup of the these substances, wastes, or material.
"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites."Hazardous material" means anything defined as a hazardous waste ,
hazardous or toxic substances, pollutant, or contaminant, etc. under environmental Law.




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 Attorney for Debtor: Mark E Levine




                                                   STATEMENT OF FINANCIAL AFFAIRS
17. ENVIRONMENTAL INFORMATION For the purpose of this question, the following definitions apply: "Environmental Law" means
                                                                                                                                                 [X] NONE
any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances, wastes or
material into the air, land, soil surface water, ground water, or other medium, including, but not limited to, statutes or regulations
regulating the cleanup of the these substances, wastes, or material.
"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites."Hazardous material" means anything defined as a hazardous waste ,
hazardous or toxic substances, pollutant, or contaminant, etc. under environmental Law.

17a. List the name and address of every site for the which the debtor has recevied noticve in writing by a governmental unit that it may
                                                                                                                                                 [X] NONE
be liable or potentially liable under or in violation of on Enviromental Law. Indicate the governmental unit, the date of the notice, and, if
known, the Environmental law:

17b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                                                                                                                                                 [X] NONE
Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

17c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                                                                                                                                                 [X] NONE
the debtor is or was a party. Indicate the name name & address of governmental unit that is or was a party to the proceeding, & docket
number.


18a. If the debtor is an individual, list the names, addresses, taxpayer ID#s, nature of businesses, and beginning & ending dates of all
                                                                                                                                                 [X] NONE
businesses in which the debtor was an officer, director, partner, or managing officer of a corporation, partner in a partnership ,
sole-proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within 6 years immediately preceding
the commencement of this case, or in which the debtor owned 5% or more of the voting or equity securities within 6 years immediately
preceding the commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer ID#s, nature of businesses, and beginning & ending dates of all
businesses in which the debtor was a partner or owned 5% or more of the voting or equity securities within 6 years immediately
preceding the commencement of this case.

If the debtor is a corporation, list the names, addresses, taxpayer ID#s, nature of businesses, and beginning & ending dates of all
businesses in which the debtor was a partner or owned 5% or more of the voting or equity securities within 6 years immediately
preceding the commencement of this case.

b. Identify any business listed in subdivision a., above, that is "single asset real estate" as defined in 11 USC 101.
                                                                                                                                                 [X] NONE

19a. List all bookkeepers and accountants who within the last 2 years immediately preceding the filing of this bankruptcy kept or
                                                                                                                                                 [X] NONE
supervised the keeping of books of account and records of the debtor.

19b. List all firms or individuals who within 2 years immediately preceding the filing of this bankruptcy case have audited the books of
                                                                                                                                                 [X] NONE
account and records, or prepared a financial statement of the debtor.

19c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
                                                                                                                                                 [X] NONE
records of the debtor. If any of the books or records are not available, explain.

19d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
                                                                                                                                                 [X] NONE
was issued by the debtor within the last 2 years immediately preceding the commencement of this case.


20. INVENTORIES
                                                                                                                                                 [X] NONE
a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory ,
and the dollar amount and basis of each inventory.

b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                                                                                                 [X] NONE




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 Attorney for Debtor: Mark E Levine




                                                   STATEMENT OF FINANCIAL AFFAIRS
21a. If the debtor is a partnership, list nature and percentage of interest of each member of the partnership.
                                                                                                                                                [X] NONE

20b. If the debtor is a corporation, list all officers & directors of the corporation; and each stockholder who directly or indirectly owns ,
                                                                                                                                                [X] NONE
controls, or holds 5% or more of the voting or equity securities of the corporation.


22a. If the debtor is a partnership, list each member who withdrew from the partnership within 1 year immediately preceding the
                                                                                                                                                [X] NONE
commencement of this case.

22b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within        1 year
                                                                                                                                                [X] NONE
immediately preceding the commencement of this case.


23. IF THE DEBTOR IS A PARTNERSHIP OR CORPORATION, list withdrawals or distributions credited or given to an insider ,
                                                                                                                                                [X] NONE
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during 1 year
immediately preceding the commencement of this case.


24. IF THE DEBTOR IS A CORPORATION, list the name and federal taxpayer ID# of the parent corporation of any consolidated group
                                                                                                                                                [X] NONE
for tax purposes of which the debtor has been a member at any time within 6 years immediately preceding the commencement of this
case.


25. If the debtor is not an individual, list name & federal taxpayer ID# of any pension fund to which debtor, as an employer, has been
                                                                                                                                                [X] NONE
responsible for contributing at any time within 6 years immediately preceding the commencement of the case.




                        I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


Dated:            05/23/2006                          /s/ John Victor Welc                                                    X Date & Sign
                                                                        John Victor Welc

Dated:            05/23/2006                          /s/ Cynthia Suzanne Welc                                                X Date & Sign
                                                                     Cynthia Suzanne Welc
             * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                                Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.




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 Attorney for Debtor: Mark E Levine




                                                      STATEMENT OF INTENTION
 1.     Debtor(s) have filed a schedule of assets/liabilities including consumer debts secured by property of the estate.
 2.     Debtor(s) intention with respects to their property of the estate which secures those consumer debts is as follows:
 3.     Debtor(s) understand that 521(2)(B) of the Bankruptcy Code requires that the below stated intentions must be
        performed within 45 days of filing.

                    Description of Property                                           Creditor's Name                         Intention

                                                           PROPERTY TO BE RETAINED

119 Cottonwood Blvd Kirkland, IL 60146 (Debtor's                        Chase Mortgage                                         Reaffirm 524 (c)
Residence)                                                              Attn: Bankruptcy Dept.
                                                                        PO Box 9001871
                                                                        Louisville KY 40290




 *524(c):         Debt will be reaffirmed pursuant to Sec. 524(c)
 *722:            Property is claimed as exempt and will be redeemed pursuant to Sec. 722

                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


 Dated:           05/23/2006                     /s/ John Victor Welc                                                 X Date & Sign
                                                           John Victor Welc
 Dated:           05/23/2006                      /s/ Cynthia Suzanne Welc                                            X Date & Sign
                                                             Cynthia Suzanne Welc
               * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                                  Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.


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 Attorney for Debtor: Mark E Levine




                                                          SUMMARY OF SCHEDULES

  Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, C, D, E, F,
  I and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from
  Schedules D, E, and F to determine the total amount of the debtor's liabilities.



                                                                                                                     AMOUNTS SCHEDULED
                                                                     Attached
                     Name of Schedule                                YES | NO          Pages               Assets                    Liabilities              Other


 SCHEDULE A - Real Property                                             Yes              1              $270,000


 SCHEDULE B - Personal Property                                         Yes              1+             $101,100


 SCHEDULE C - Exempt                                                    Yes              1+


 SCHEDULE D - Secured                                                   Yes              1+                                            $251,914


 SCHEDULE E - UnSecured Priority                                        Yes              1


 SCHEDULE F - UnSecured NonPriority                                     Yes              1+                                             $59,106


 SCHEDULE G - Executory Contracts                                       Yes              1+


 SCHEDULE H - CoDebtors                                                 Yes              1+


 SCHEDULE I - Income                                                    Yes              1+                                                                  $6,680


 SCHEDULE J - Expenditures                                              Yes              1+                                                                  $3,320



                                                                                                       $ 371,100                         $ 311,020

                                                                                                 TOTAL ASSETS                        TOTAL LIABILITIES




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 Attorney for Debtor: Mark E Levine




              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

  I declare under penalty of perjury that I have read the foregoing summary and schedules, and that they are true and
  correct to the best of my knowledge, information and belief. I have disclosed on the foregoing schedules all property
  or assets I may have an interest in, the correct value of it, and every debt I may be liable for. I accept the risk that
  some debts won't be discharged. I have been advised of the difference between Chapter 7 and Chapter 13, income &
  expense concepts, budgeting, and have made full disclosure.

  Debtor's attorney has advised debtor that creditors can object to discharge of their debt on a variety of grounds
  includiung fraud, recent credit usage, divorce and support obligations and reckless conduct.

  Debtor's attorney has advised debor that non-dischargeable debts such as taxes, student loans, fines by govenment
  units and liens on property of debtor are generally unaffected by bankruptcy.




                   I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT




 Dated:        05/23/2006                   /s/ John Victor Welc                                             X Date & Sign
                                                      John Victor Welc

 Dated:        05/23/2006                   /s/ Cynthia Suzanne Welc                                         X Date & Sign
                                                   Cynthia Suzanne Welc

          * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                             Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.



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In re

 John Victor Welc, and Cynthia Suzanne Welc / Debtors

 Attorney for Debtor: Mark E Levine




                                           VERIFICATION OF CREDITOR MATRIX
 The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                    I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




 Dated:         05/23/2006                    /s/ John Victor Welc                                                   X Date & Sign
                                                              John Victor Welc


 Dated:         05/23/2006                    /s/ Cynthia Suzanne Welc
                                                                                                                     X Date & Sign
                                                          Cynthia Suzanne Welc

           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property:
                              Fine up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.


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           Case 06-71013            Doc 1       Filed 06/14/06 Entered 06/14/06 17:04:34      Desc Main
                                                 Document     Page 31 of 32
                                 UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
John Victor Welc and Cynthia Suzanne Welc / Debtors

Attorney for Debtor: Mark E Levine




                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES - 28 U.S.C. 159

 Summarize the following types of liabilities, as reported in the Schedules, and total them



                                      TYPE OF LIABILITY                                          AMOUNT



 Domestic Support Obligations (From Schedule E)                                                        0.00

 Taxes and Certain Other Debts Owed to Governmental Units                                              0.00
 (From Schedule E)

 Claims for Death or Personal Injury While Debtor was                                                  0.00
 Intoxicated (From Schedule E)


 Student Loan Obligations (From Schedule F)                                                       17,500.00

 Domestic Support Separation Agreement and Divorce Decree
 Obligations Not Reported on (Schedule E).                                                             0.00

 Obligations to Pension or Profit Sharing and Other Similar                                            0.00
 Obligations (From Schedule F)




The foregoing information is for statistical purposes only under 28 U.S.C 159                  $ 17,500.00




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                                                STATES BANKRUPTCY
                                                           Page 32 of 32COURT
                                  NORTHERN DISTRICT OF ILLINOIS WESTERN DIVISION
In re
John Victor Welc and Cynthia Suzanne Welc, Debtors
Attorney for Debtor: Mark E Levine

                                         NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit counseling services; (2)
Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy
crimes and notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case. You are cautioned that
bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities
should you decide to file a petition. Court employees cannot give you legal advice.
1. Services Available from Credit Counseling Agencies
            With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on or after
October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides assistance in performing a
budget analysis. The briefing must be given within 180 days before bankruptcy filing. Briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) must be provided by nonprofit budget & credit counseling agency approved by the United States trustee
or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.
            In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management instructional course
before he or she can receive a discharge. The clerk also has a list of approved financial management instructional courses.


2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
             1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose debts are primarily
consumer debts are subject to a “means test” designed to determine whether the case should be permitted to proceed under chapter 7. If your income is
greater than the median income for your state of residence and family size, in some cases, creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
             2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take possession of
and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
             3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain
kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the purpose for which you filed the
bankruptcy petition will be defeated.
             4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be responsible for
most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement obligations; most fines, penalties,
forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury
caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of Debts of an Individual with Regular Income ($235 filing fee, $39 administrative fee: Total $274)
            1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments over a period of time.
You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy Code.
            2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your future
earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your income and other factors. The court
must approve your plan before it can take effect.
            3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations; most student
loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your bankruptcy papers; certain debts for
acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
           Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated, and
any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
           Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings and is similar to
chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family farm or fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
             A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either orally or in writing,
in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a debtor in connection with a bankruptcy case
is subject to examination by the Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.
WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors, assets, liabilities,
income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not filed with the court within the time
deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                         /s/ John Victor Welc                                                                                          X Date & Sign
Dated:        05/23/2006
                                                                                                        John Victor Welc
Dated:         05/23/2006                /s/ Cynthia Suzanne Welc
                                                                                                                                                       X Date & Sign
                                                                                                  Cynthia Suzanne Welc
Dated:        06/14/2006                 /s/ Mark E Levine
                                                                                                                           Bar No: 6239485
                                                                                                                                                       X Date & Sign
                                         Attorney: Mark E Levine
